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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION - CINCINNATI

UNITED ST ATES OF AMERICA,                              Case No. 1:21-cr-80

             Plaintiff,

      vs.

TONI WRIGHT,

             Defendant.


ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING


       Pursuant to the CARES Act H.R.748 § 15002 et seq, and in accordance with

General Order 20-07, this Court finds that Defendant Toni Wright, after consultation

with counsel, has consented to the use of video conferencing to conduct the initial

appearance/ arraignment/ plea hearing held today.


       Accordingly, the proceeding held on this date may be conducted by:


        X
             video teleconference.

             teleconference, because video teleconferencing is not reasonably available
             for the following reasons:

                     that the defendant is detained at a facility that is lacking video
                     teleconferencing capability.

                     other.

       IT IS SO ORDERED.
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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF OHIO


                                     By:     /s/ Matthew W. McFarland
                                           JUDGE MATTHEW W. McFARLAND




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